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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
   Plaintiff,                                       Criminal no. 20-140 (DRD)
                 v.

 EDWIN ALLENDE
   Defendant.
                                     MOTION TO WITHDRAW

To THE HONORABLE COURT:

Comes now the defendant, Mr. Allende, and respectfully states and prays as follows:

    1. Mr. Allende was arrested and ordered detained by this Court on the allegations presented on

       a Complaint filed on March 6, 2020. (See Docket #1)

    2. Mr. Allende's arraignment was then held on April 8, 2020, and since then, the parties have

       been in constant communication to explore a possibility of reaching a plea agreement.

    3. Mr. Allende and the undersigned met at the Metropolitan Detention Center on July 12, 2022,

        and he informed tbe undersigned that he did not want to be further represented by him, and

        that he wished that a Motion to Withdraw be filed.

    4. The undersign informs the Court that currently, Mr. Allende has unequivocally expressed

        that he does not believe that the undersigned attorney is suited to represent him in this

        matter.

    5. The undersign informs that due to the distrust ex=.1ibited by Mr. Allende, and the lack of

        effective communication between the client and the undersign, it is not foreseeable that any

        additional time will improve the current situation.

    6. Mr. Allende is indigent and is unable to secure any funds to retain an attorney, and for that

        reason the Court had appointed the undersigned as established by the Criminal Justice Act.
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